             Case 3:19-cv-01467-JR      Document 1      Filed 09/11/19     Page 1 of 19




Eric S. Postma, OSB #993478
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F: (503) 228-8566
Attorney for Defendants



                               UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION

RADAGAST PET FOOD, INC., an                      Case No.
Oregon corporation,
                                                 NOTICE OF REMOVAL
                 Plaintiff,

        v.

CENTINELA FEED, INC., a
California corporation, and THE
LOTUS PET FOOD, INC., a
California corporation,

                 Defendants.


        TO THE CLERK OF THE ABOVE-ENTITLED COURT:

        PLEASE TAKE NOTICE that Defendants Centinela Feed, Inc. and The Lotus Pet Food,

Inc. hereby remove this action from the Citcuit Court of the State of Oregon for the County of

Multnomah to the United States District Court for the District of Oregon Portland Division.

        1.       Defendants are parties in a civil action brought against them in the Circuit Court

of the State of Oregon for the County of Multnomah entitlted Radagast Pet Food, Inc., Plaintiff,

v. Centinela Feed, Inc., and The Lotus Pet Food, Inc., Defendants, Case No. 19CV33707. A

copy of the Complaint and the Acceptance of Service in that action are attached to this notice

and constitute all process, pleadings, and orders served on Defendants in that action up to the

present date.

///

PAGE 1 – NOTICE OF REMOVAL                                                     BITTNER & HAHS, P.C.
                                                                                4949 SW MEADOWS RD., STE 260
                                                                                   LAKE OSWEGO, OR 97035
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                                                                                      FAX: (503) 228-8566
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        2.       The state court action was commenced when the Complaint was filed with the

County Clerk for Multnomah County, Oregon, on or about July 31, 2019. A copy of the

Summons and Complaint were accepted for service by Defendants on August 13, 2019.

Defendants have filed no pleadings in this cause. This notice of removal is filed within 30 days

after effective service of process.

        3.       The state court action is a controversy between citizens of different states. When

the Summons and Complaint were served, Defendants were, and now are, California entities.

        4.       This is an action of a civil nature over which this Court has jurisdiction pursuant

to 28 USC § 1332(a), in that it is a suit for damages on account of a breach of contract in which

the matter in controversy exceeds the sum of $75,000 exclusive of interest and costs and is

between citizens of different states.

        5.       This notice is signed pursuant to FRCP 11.

        DATED this 11th day of September, 2019.

                                               BITTNER & HAHS, P.C.



                                               By:       s/Eric S. Postma
                                                     Eric S. Postma, OSB #993478
                                                     Of Attorneys for Defendants




PAGE 2 – NOTICE OF REMOVAL                                                      BITTNER & HAHS, P.C.
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                                               19CV33707


 1
 2
 3
                        IN THE CIRCUIT COURT OF THE STATE OF OREGON
 4
                                 FOR THE COUNTY OF MULTNOMAH
 5
 6     RADAGAST PET FOOD, INC., an
       Oregon corporation,                                 Case No.
 7
                         Plaintiff,                        COMPLAINT
 8                                                         (Breach of Contract)
              v.
 9                                                         Amount Claimed: $150,000.00
       CENTINELA FEED, INC., a California
10     corporation, THE LOTUS PET FOOD,                Fee Authority: ORS 21.160(c)
       INC., a California corporation,
11                                                         NOT SUBJECT TO MANDATORY
                         Defendants.                       ARBITRATION
12
13                   Plaintiff Radagast Pet Food, Inc. (“Radagast”) alleges as follows:

14                                     STATEMENT OF THE CASE

15                                                    1.

16                   Shortly after Radagast, a former raw cat food manufacturer, announced its

17    closure, Centinela Feed, Inc. (“Centinela”) and The Lotus Pet Food, Inc. (“Lotus”) approached

18    Radagast about purchasing Radagast’s still-valuable intellectual property and other assets. After

19    Centinela and Lotus signed Radagast’s nondisclosure agreement, Radagast provided the

20    companies—which admittedly had no prior knowledge of how to make a raw cat food product—

21    with detailed financial information, industry assessment, marketing plans, growth strategy, and

22    production and inventory information. Days later, Centinela and Lotus abruptly stated that they

23    would “pass” on the asset purchase. And just five months later, Lotus announced its own raw cat

24    food line with the same protein varieties, same packaging in tubs, and promoting the Lotus

25    product at a trade show as “exactly the same” as Radagast’s. When Radagast promptly sought

26    the return of all confidential information from Centinela and Lotus pursuant to the NDA, the


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 1    companies first ignored Radagast and then provided a response falling far short of the what the

 2    NDA requires. Radagast brings this action for breach of the NDA to secure its confidential

 3    information and protect its valuable intellectual property.

 4                                                PARTIES

 5                                                     2.

 6                   Radagast is an Oregon corporation that is licensed to conduct business in the state

 7    of Oregon, with its principal place of business in Portland, Oregon. Radagast is a family owned

 8    and operated company specializing in manufacturing healthy raw pet food for cats.

 9                                                     3.

10                   Centinela is a California corporation. On information and belief, Centinela’s

11    place of business is 2727 Maricopa Street, Torrance, California 90503.

12                                                     4.

13                   Lotus is a California corporation. On information and belief, Lotus’ place of

14    business is 2727 Maricopa Street, Torrance, California 90503.

15                                    JURISDICTION AND VENUE

16                                                     5.

17                   This court has jurisdiction over the parties and this action under ORS 14.030.

18                                                     6.

19                   Multnomah County is a proper venue for the claims for relief under ORS 14.080

20    because many of the events alleged in this Complaint, including the injury suffered, occurred

21    within the county.

22                                                     7.

23                   This court has general personal jurisdiction over Lotus because it has substantial

24    and continuous business contacts with Oregon and the plaintiff damaged by its actions in an

25    Oregon company.

26


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 1                                                      8.

 2                   Centinela has consented to jurisdiction in Oregon pursuant to Section 12 of its

 3    October 25, 2018 Nondisclosure Agreement with Radagast, providing, “Any litigation relating to

 4    this Agreement will be tried in the state or federal courts in Portland, Oregon.”

 5                                 FACTS COMMON TO ALL CLAIMS

 6                                                      9.

 7                   Radagast had been a longtime industry leader in premium raw cat food, selling

 8    lamb, chicken, turkey, venison, beef and pork varieties, all single protein recipes in tubs, of its

 9    Rad Cat® Raw Diet before economic concerns compelled the company to close its doors on

10    October 15, 2018.

11                                                     10.

12                   Despite the company’s closure, the Radagast intellectual property—including its

13    popular recipes, manufacturing techniques, product sourcing information, trademarks, and

14    others—were still of tremendous value to potential purchasers

15                                                     11.

16                   Centinela is a retail supplier of pet food and supplies with stores located

17    throughout Southern California.

18                                                     12.

19                   Lotus makes dry and canned food for dogs and cats for distribution in the United

20    States.

21                                                     13.

22                   Centinela and Lotus are closely related companies, with Chris Nakagawa acting

23    as both the Chief Executive Officer (CEO) of Centinela and, on information and belief, an

24    executive at Lotus.

25

26


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 1                                                    14.

 2                   Through distribution partners, Radagast provided its Rad Cat® Raw Diet to

 3    Centinela stores from 2014 until Radagast ceased distribution due to its closure.

 4                                                    15.

 5                   On October 19, 2018, Radagast received a call from Steve Wells, the Category

 6    Coordinator at Centinela. He stated that Centinela “loves the brand” and was wondering if

 7    Radagast was “looking for investors.” Wells said the company’s CEO, Chris Nakagawa, would

 8    like to have a call with Radagast. Radagast agreed to a call on October 25, 2018.

 9                                                    16.

10                   On the October 25, 2018 call, Nakagawa said he hoped the companies could do a

11    deal together, in the nature of an asset purchase, as Lotus did not have a raw cat food product.

12    Radagast explained that before discussing the matter in detail, Centinela would need to sign a

13    nondisclosure agreement.

14                                                    17.

15                   Nakagawa followed up with an email with the subject “NDA” and having both

16    the Centinela and Lotus names and logos in the signature block. The email providing his contact

17    information and said, “[H]ope we can do something together.”

18                                                    18.

19                   Radagast sent Nakagawa its nondisclosure agreement to Nakagawa and he signed

20    it the same day. A copy of the signed nondisclosure agreement (“the NDA”) is attached hereto

21    as “Exhibit A.” The NDA is governed by Oregon law, without regard to principles of conflicts of

22    law.

23                                                    19.

24                   On information and belief, Nakagawa was acting on behalf of both Centinela and

25    Lotus when he executed the NDA, and as detailed below, both companies received confidential

26    information pursuant to the agreement.



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 1                                                    20.

 2                   The NDA defines “Confidential Information” as “any nonpublic information

 3    received from Radagast or otherwise acquired during any tours of Radagast’s facilities.” It may

 4    be “written, oral, in any tangible form or electronic, embodies in or derived from product

 5    samples, or in other forms” and “[a]ny Radagast information provided to Recipient is presumed

 6    to be Confidential Information unless otherwise stated by Radagast or this agreement.”

 7                                                    21.

 8                   The NDA is clear that the purpose of Radagast’s disclosure of any confidential

 9    information to Centinela and Lotus is “evaluating [a] possible business transaction.” Section 4

10    provides that the companies “not use use or disclose Confidential Information, except for the

11    purpose stated above” and “will not reverse engineer Confidential Information or incorporate

12    Confidential Information in any product that Recipient manufactures or sells, or will in the future

13    manufacture or sell.”

14                                                    22.

15                   During a call on October 29, 2018 with Nakagawa and Daron Matsuura, President

16    of Lotus, the parties discussed Radagast’s production models, the specialized equipment required

17    to produce raw cat food in tubs, and the use of specific ingredients by Radagast.

18                                                    23.

19                   On October 30 and 31, 2018, Radagast sent Centinela and Lotus its Confidential

20    Information Memorandum with detailed financial information, industry assessment, marketing

21    plans and growth strategy; its Management Presentation; a revenue and volume spreadsheet

22    showing the company’s revenue and amount of all varieties sold from January 2016 - September

23    2018; Radagast’s balance sheet; a list of production equipment; and all of its raw materials

24    ingredient inventory.

25

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 1                                                    24.

 2                    On October 31, 2018, Matsuura followed up, asking Radagast for more detailed

 3    inventory and product processing information.

 4                                                    25.

 5                    At the time Radagast provided its Confidential Information, Centinela and Lotus

 6    acknowledged that they had no independent knowledge of how to manufacture a raw cat food.

 7                                                    26.

 8                    Radagast’s broker followed up with Centinela and Lotus on November 5,

 9    November 7, and November 8, 2018 to determine if the companies were interested in a deal with

10    Radagast. On November 9, 2018, Matsuura curtly responded that the companies had decided to

11    pass.

12                                                    27.

13                    Only five short months later, at the Global Pet Expo in Florida (“Global”), Lotus

14    presented a new raw cat food product offering, sold in tubs as shown in a freezer at the event,

15    and also including lamb, chicken, turkey, venison, beef and pork varieties.

16                                                    28.

17                    Two women working at the Lotus booth at Global told a contact of Radagast’s

18    that they used to feed their cats Rad Cat® Raw Diet and the Lotus product is “exactly the same”

19    except “we figured out that Rad Cat was low in thiamine so we are adding that one thing to the

20    recipe to bump it up.” Later, a second Radagast contact went to the Lotus booth and was told,

21    again, that the Lotus product is “exactly the same as Rad Cat.”

22                                                    29.

23                    On March 20, 2019, Radagast received an email from a representative of a

24    different company with whom Radagast was in the final stages of negotiating an asset purchase.

25    The email stated, “I just finished up a meeting with a distributor, who shared the news that Lotus

26    has purchased your formula. Lotus has apparently been sharing this with certain people in the



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 1    industry… Now I’m confused. I’d appreciate if you could share where things stand.” The

 2    potential purchaser broke off negotiations.

 3                                                    30.

 4                   Concerned about the status of its confidential information, Radagast’s counsel

 5    sent a letter to Centinela and Lotus on April 22, 2019 emphasizing that, pursuant to the NDA, the

 6    companies should not be using Radagast Confidential Information for any purpose. The letter

 7    also demanded that, by May 1, 2019:

 8                   Centinela and Lotus return all Confidential Information provided by
                     Radagast and “state in writing under oath” that “any electronic records or
 9                   other materials containing Confidential Information” have been destroyed,
                     as required by Paragraph 5 of the NDA.
10
                                                      31.
11
                     Hearing nothing, Radagast sent another letter on May 23, 2019 making clear that
12
      it would be forced to file a lawsuit for breach of contract against Centinela and Lotus unless the
13
      companies complied with the agreement.
14
                                                      32.
15
                     Finally, on June 13, 2019, counsel for Centinela and Lotus responded with a letter
16
      including a number of false and/or incorrect statements about the background between the parties
17
      and nature of the Confidential Information provided. The letter listed only five documents
18
      provided by Radagast and stated that Centinela had deleted them.
19
                                                      33.
20
                     The June 13, 2019 letter also attached an affidavit from Nakagawa, signed as
21
      “President of Centinela Feed, Inc.,” (“the Nakagawa Affidavit”) averring that Centinela had
22
      deleted these five documents but that they had been retained by Centinela’s counsel “to be
23
      retained by him and to be disclosed or used only if Radagast institutes legal action against
24
      Centinela Feed.”
25

26


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 1                                                    34.

 2                   Radagast’s counsel responded on June 25, 2019, noting that the misstatements in

 3    Centinela and Lotus’ letter heightened rather than alleviated Radagast’s concerns. The letter

 4    pointed to whole categories of additional confidential information Centinela and Lotus had not

 5    addressed, including the October 29, 2018 discussion of Radagast’s production models,

 6    specialized manufacturing equipment, and specific ingredients used by Radagast, and the

 7    October 31, 2019 email to Matsuura with a detailed breakdown of Radagast’s raw materials

 8    ingredient inventory.

 9                                                    35.

10                   The Nakagawa Affidavit appeared to come from Nakagawa of Centinela alone,

11    with nothing from Matsuura or anyone else expressly on behalf of Lotus, a company that also

12    received Radagast confidential information. Like the June 13, 2019 letter, The Nakagawa

13    Affidavit failed to account for the additional Confidential Information Centinela and Lotus

14    received by email and over the telephone. Also, importantly, the Nakagawa Affidavit does not

15    state under oath, as required by Paragraph 5 of the NDA, that Centinela and Lotus will cease use

16    of all confidential information, regardless of the extent to which the companies continue to

17    possess physical or electronic copies of the information.

18                                                    36.

19                   Radagast’s June 25, 2019 letter pointed to the statement in the Nakagawa

20    Affidavit that the five Radagast documents currently retained by its counsel will “be disclosed or

21    used only if Radagast institutes legal action against Centinela Feed.” Radagast made clear that

22    the NDA forbids disclosure of these documents and that, if Centinela or Lotus need to refer to

23    them in the course of a court proceeding involving Radagast, or in response to a subpoena, it

24    may do so only pursuant to a stipulated protective order that maintains the confidentiality of the

25    documents. Radagast asked counsel for Centinela and Lotus to confirm that the companies

26    understood this. Otherwise, Radagast explained, “the affidavit reads like a threat to expose the



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 1    information if Radagast were to file a lawsuit against your clients.”

 2                                                    37.

 3                   Radagast’s June 25, 2019 letter asked that Centinela and Lotus fully comply with

 4    the NDA by July 5, 2019, and provide evidence, pursuant to Section 6 of the NDA, that Lotus’

 5    new raw cat food product has been independently developed.

 6                                                    38.

 7                   To date, Centinela and Lotus have provided no response.

 8                                                    39.

 9                   On information and belief, Centinela and Lotus have maintained access to

10    Radagast’s confidential information. They have also failed to comply with Section 5 of the

11    NDA. Although the full extent of defendants’ possession and potential use of Radagast’s

12    Confidential Information is not yet known, the exposure and/or use of such information poses a

13    serious risk of harm to the economic value of Radagast’s intellectual property, which are among

14    its key remaining assets. It is unlikely that defendants could provide monetary relief that could

15    adequately compensate Radagast for such threatened economic harm.

16                                                    40.

17                   The NDA provides, “Recipient acknowledges that money damages would not be a

18    sufficient remedy for breach of this Agreement by Recipient. In the event of a breach of this

19    Agreement, Radagast will be entitled to injunctive relief without posting bond, in addition to any

20    other available remedies.” NDA ¶ 11.

21                                                    41.

22                   Recognizing the serious threat of harm to the value of its intellectual property

23    resulting from defendants’ improper retention of Confidential Information, combined with its

24    announcement of a line of raw cat food products, Radagast was forced to hire counsel at

25    substantial expense to institute this litigation to address defendants’ breach of the NDA, limit the

26    impact of the breach, enjoin any further breaches, and protect the Radagast intellectual property.



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 1                                                   42.

 2                  The NDA provides, “In any litigation concerning this agreement, the prevailing

 3   party will be entitled to recover all reasonable expenses of litigation, including reasonable

 4   attorney fees at trial and on any appeal.” NDA ¶ 11.

 5                                        CLAIM FOR RELIEF

 6                                    (Breach of Contract – Written)

 7                                                   43.

 8                  Radagast realleges and incorporates by reference the foregoing paragraphs as

 9   though fully set forth herein.

10                                                   44.

11                  Under the NDA, Centinela and Lotus have duties to (1) return all materials

12   containing Radagast Confidential Information, keeping no copy for themselves; (2) state in

13   writing under oath that all Confidential Information has been returned; and (3) state in writing

14   under oath that defendants will cease all use of Confidential Information.

15                                                   45.

16                  Centinela and Lotus materially breached these duties by failing to return all

17   Confidential Information and failing to make the required sworn statements, with Lotus, in

18   particular, failing to make any sworn statement at all.

19                                                   46.

20                  All conditions precedent have occurred, been performed, or are otherwise

21   satisfied, discharged, or excused.

22                                                   47.

23                  Radagast has suffered, and will continue to suffer, irreparable harm and other

24   damage as a result of defendants’ actions.

25

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 1                                                   48.

 2                  As a result of Centinela and Lotus’ breach of contract, the full extent of which is

 3   currently unknown, Radagast has been damaged in an amount to be proven at trial.

 4                                       PRAYER FOR RELIEF

 5                  WHEREFORE, Radagast respectfully requests the following relief:

 6                  A.      An award of damages in favor of Radagast for $150,000.00;

 7                  B.      An order that Centinela and Lotus, their agents, directors, officers,

 8   servants, employees, successors and assigns, and any entity owned or controlled in whole or in

 9   part by Centinela, Lotus, or by any agent, director, officer, servant, or employee of Centinela or

10   Lotus, and all those persons in active concert or participation with all or any of the foregoing,

11   who receive notice of this judgment, directly or otherwise, comply with Section 5 of the NDA

12   by:

13                          (1)     ceasing all use of Radagast’s Confidential Information;

14                          (2)     returning all materials furnished by Radagast that contain

15                                  Confidential Information;

16                          (3)     delivering to Radagast any electronic records or other materials

17                                  containing Confidential Information, including those materials

18                                  prepared by Centinela and/or Lotus; and

19                          (4)     each submitting a sworn statement that it has complied with

20                                  Section 5 of the NDA.

21                  C.      An order that Centinela and Lotus, their agents, directors, officers,

22   servants, employees, successors and assigns, and any entity owned or controlled in whole or in

23   part by Centinela, Lotus, or by any agent, director, officer, servant, or employee of Centinela or

24   Lotus, and all those persons in active concert or participation with all or any of the foregoing,

25   who receive notice of this judgment, directly or otherwise, be permanently restrained and

26   enjoined from using, disclosing, or retaining any Radagast Confidential Information;



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 1                  D.     A judgment in favor of Radagast requiring Centinela and Lotus to pay

 2   Radagast’s actual and consequential damages resulting from Centinela and Lotus’ breach of the

 3   NDA;

 4                  E.     To the extent Centinela and/or Lotus have developed—directly or

 5   indirectly—any cat food products with the benefit of Radagast Confidential Information, an

 6   order directing Centinela and/or Lotus to immediately and permanently cease development,

 7   production and/or sale of any such product;

 8                  F.     An award to Radagast of its costs (including expert fees), disbursements,

 9   and reasonable attorney fees incurred in this action, together with interest, including prejudgment

10   interest, pursuant to the NDA and the equity powers of this Court; and

11                  G.     Such other and further relief as this Court may deem just and proper.

12                                   DEMAND FOR JURY TRIAL

13                  Radagast hereby demands a trial by jury on all issues so triable.

14

15          DATED this 31st day of July, 2019.

16                                                     IDEALEGAL

17

18                                            By:      /s/ Elizabeth Milesnick
                                                       Elizabeth Tedesco Milesnick
19                                                     OSB #050933
                                                       E-Mail: emilesnick@idealegal.com
20                                                     Telephone: (503) 902-5760
                                                       Attorneys for Plaintiff
21

22

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                                                                      Page 2 of 2
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 1
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 3
                        IN THE CIRCUIT COURT OF THE STATE OF OREGON
 4
                                  FOR THE COUNTY OF MULTNOMAH
 5
 6     RADAGAST PET FOOD, INC., an
       Oregon corporation,                              Case No. 19CV33707
 7
                          Plaintiff,                    ACCEPTANCE OF SERVICE
 8
              v.
 9
       CENTINELA FEED, INC., a California
10     corporation, THE LOTUS PET FOOD,
       INC., a California corporation.
11
                          Defendants.
12
             Please take notice that Eric S. Postma, of Bittner & Hahs PC, 4949 SW Meadows Road,
13
      Suite 260, Lake Oswego, Oregon, 97035, attorney for Defendants Centinela Feed, Inc. and The
14
      Lotus Pet Food, Inc. (“Defendants”), has been authorized to accept service on behalf of
15
      Defendants and does hereby acknowledge service of the Summons and Complaint in the above-
16
      entitled action for and on behalf of the above-named party with like effect as personal service
17
      upon said party, effective August 12, 2019.
18
19           DATED this 13th day of August, 2019.

20                                                  BITTNER & HAHS PC
21
                                                    /s/ Eric S. Postma
22
                                                    Eric S. Postma, OSB No. 993478
23                                                  4949 SW Meadows Road, Suite 260
                                                    Lake Oswego, OR 97035
24                                                  E-mail: epostma@bittner-hahs.com
                                                    Phone: (503) 228-5626
25
                                                    Attorneys for Defendants Centinela Feed, Inc. and
26
                                                    The Lotus Pet Food, Inc.


Page 1 -   ACCEPTANCE OF SERVICE                                                           IDEALEGAL
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             Case 3:19-cv-01467-JR   Document 1   Filed 09/11/19    Page 18 of 19




 1                                         IDEALEGAL LLC
 2
                                           /s/ Elizabeth Milesnick
 3
                                           Elizabeth Tedesco Milesnick, OSB No. 050933
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 7                                         Attorneys for Plaintiff Radagast Pet Food, Inc.

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 11th day of September, 2019, I served the foregoing NOTICE

 3   OF REMOVAL on the following individual:

 4   Elizabeth Tedesco Milesnick, OSB #050933
     Idealegal
 5   2240 N. Interstate Avenue, Suite 270
     Portland, OR 97227
 6   E: emilesnick@idealegal.com
     Of Attorneys for Plaintiff
 7
                    mailing to said person a complete and correct copy thereof, contained in a sealed
 8
     envelope, addressed as set forth above and deposited in the United States mail in Lake Oswego,
 9
     Oregon, with postage thereon prepaid, on said day.
10
                    emailing to said person at the email address set forth above, a complete and
11
     correct copy thereof, on said day.
12
                    telephonic facsimile communication device, at the telephone number set forth
13
     above, which device was working at the time service was made. A printed confirmation of
14
     receipt of the message generated by the transmitting machine is attached hereto.
15
                    hand delivering to said attorneys a complete and correct copy thereof, contained
16
     in a sealed envelope, at the address set forth above, on said day, and leaving it with the attorneys’
17
     clerk, or person apparently in charge of the office, or in a conspicuous place therein if no one
18
     was apparently in charge of the office.
19
            DATED this 11th day of September, 2019.
20
                                                   BITTNER & HAHS, P.C.
21

22                                             By: s/Eric S. Postma
23                                                Eric S. Postma, OSB #993478
                                                  Of Attorneys for Plaintiff
24

25

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     Page 1 - CERTIFICATE OF SERVICE
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